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Order Prepared By:
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                     IN THE UNITED STATES DISTRICT COURT,
                   IN AND FOR THE CENTRAL DISTRICT OF UTAH

LINDA SUDA,                                        ORDER GRANTING MOTION TO
                                                     DISMISS WITH PREJUDICE
              Plaintiff,
vs.
                                                    Case No. 2:18-CV-474-DAK-DBP
GOVINDJI HOTELS GROUP, INC., A
Utah Corporation, John Does I – X, XYZ                   Judge Dale A. Kimball
Corporations and/or Limited Liability
Companies I – X.

              Defendants.




      This matter is before the Court pursuant to the Motion to Dismiss with Prejudice (the

“Motion”) filed by Plaintiff on January 3, 2019. Having reviewed the Motion and noting that no

opposition has been filed, there appears good cause that it should be GRANTED.

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that this matter is dismissed

with prejudice.




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  DATED the 3rd day of January, 2019

                                       BY THE COURT



                                       ____________________________
                                       United States Judge Dale A. Kimball




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                                CERTIFICATE OF SERVICE

       I, the undersigned, certify that on the 3rd day of January, 2019, I caused a true and correct

copy of the foregoing ORDER GRANTING MOTION TO DISMISS WITH PREJUDICE to be

filed with the Court via CM/ECF, which caused notice to be served upon all e-filing counsel of

record via the Court’s Notice of Electronic Filing [NEF].



                                                     /s/ Matthew B. Crane




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